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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D.                                                    CIVIL ACTION

VERSUS                                                               NO. 23-7296-NJB-KWR

MICHAEL WRIGHT, individually and in official                         SECTION: “G”(4)
capacity, et al.

                                            ORDER

       Considering the foregoing Motion for Sanctions filed by Plaintiff Joy Banner, IT IS

HEREBY ORDERED that the Motion is GRANTED. Within ten days of this order, Defendant

Hotard shall submit to a deposition at Defendant Hotard’s expense. The scope of the deposition

shall be the topics raised in the documents produced by Darla Gaudet.

       Furthermore, within twenty-one days of this Order, Plaintiffs shall submit a fee petition for

the reasonable attorneys fees incurred in obtaining discovery from Darla Gaudet, preparing and

filing their Motion for Sanctions, and conducting the re-opened deposition of Defendant Hotard.

                      Signed this ____ day of _________, 2024



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